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 8
                                    UNITED STATES DISTRICT COURT
 9
                    NORTHERN DISTRICT OF CALIFORNIA — SAN JOSE DIVISION
10

11
     DAVID GIUSTO,                                        Federal Case No.: 5:16-CV-04637-BLF
12
                     Plaintiff,
13
            vs.                                           PLAINTIFF’S NOTICE OF VOLUNTARY
14                                                        DISMISSAL OF DEFENDANT EQUIFAX,
   EXPERIAN INFORMATION SOLUTIONS,                        INC. PURSUANT TO FEDERAL RULE
15 INC.; et. al.,                                         OF CIVIL PROCEDURE 41(A)(1)
16                   Defendants.

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19 PLEASE TAKE NOTICE that Plaintiff David Giusto, pursuant to Federal Rule of Civil

20 Procedure 41(a)(1), hereby voluntarily dismisses Defendant Equifax, Inc. as to all claims in this

21 action, with prejudice.

22          Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
23          41(a) Voluntary Dismissal
24          (1) By the Plaintiff
25                   (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any
26                       applicable federal statute, the plaintiff may dismiss an action without a court
27                       order by filing:
28                           (1) a notice of dismissal before the opposing party serves either an answer

                                                        1
                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT EQUIFAX, INC.
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 1                           or a motion for summary judgment.

 2         Defendant Equifax, Inc. has neither answered Plaintiff’s Complaint, nor filed a motion for

 3 summary judgment. Accordingly, the matter may be dismissed against it for all purposes and

 4 without an Order of the Court.

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 6 Dated: November 7, 2016                      Sagaria Law, P.C.

 7
                                             By:          /s/ Elliot W. Gale
 8                                                                 Elliot W. Gale
                                             Attorneys for Plaintiff
 9
                                             David Giusto
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              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT EQUIFAX, INC.
